

People v McFadden (2018 NY Slip Op 04000)





People v McFadden


2018 NY Slip Op 04000


Decided on June 6, 2018


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 6, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

RUTH C. BALKIN, J.P.
JOHN M. LEVENTHAL
LEONARD B. AUSTIN
SANDRA L. SGROI, JJ.


1995-08652
 (Ind. No. 94-00247)

[*1]The People of the State of New York, respondent,
vReginald McFadden, appellant.


Reginald McFadden, Attica, NY, appellant pro se.
Thomas P. Zugibe, District Attorney, New City, NY (Carrie A. Ciganek of counsel), for respondent.
Anthony N. Iannarelli, Jr., New York, NY, former appellate counsel.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated May 3, 1999 (People v McFadden, 261 AD2d 417), determining an appeal from a judgment of the County Court, Rockland County, rendered September 7, 1995.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
BALKIN, J.P., LEVENTHAL, AUSTIN and SGROI, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








